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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
        Plaintiff,                                )   Crim. No. 6:13-CR-00020-GFVT-HAI-24
                                                  )
 V.                                               )
                                                  )
 SUZANN JUDY PHILLIPS,                            )                    ORDER
                                                  )
        Defendant.                                )
                                                  )

                                       *** *** *** ***

       This matter is before the Court on the Report and Recommendation filed by United States

Magistrate Judge Hanly A. Ingram. [R. 1256.] Defendant Suzann Judy Phillips has been

charged with three violations of her terms of supervised release. Id. at 2–3.

       In October 2015 this Court entered judgment against Ms. Phillips for one count of

conspiracy to manufacture a mixture or substance containing methamphetamine. [R. 1002 at 1.]

Ms. Phillips was sentenced to twenty-eight months imprisonment to be followed by a six-year

term of supervised release. Id. at 2–3. Ms. Phillips began her term of supervised release on

November 23, 2016 immediately following her release from the custody of the Bureau of

Prisons. On January 17, 2019, the United States Probation Office (USPO) issued a Supervised

Release Violation Report (the Report) charging Ms. Phillips with three violations. The USPO

secured a warrant the same day. [R. 1239; 1240.] The Report provides the following

background of the violations.

       As part of her conditions of supervised release, a sweat patch (SP1) was applied to Ms.

Phillips on November 9, 2018. After supposedly “scratching off” the sweat patch in her sleep,
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Ms. Phillips returned to the probation office on November 13, 2018 with the sweat patch for

testing. This was the first of six sweat patch tests conducted on Ms. Phillips between November

2018 and January 2019. All of the sweat patches tested positive for one illegal substance or

another. SP1 tested positive for cocaine; SP2 tested positive for cocaine and

methamphetamine/amphetamine; SP3 tested positive for methamphetamine/amphetamine; SP4

tested positive for methamphetamine/amphetamine and cocaine; SP5 tested positive for

methamphetamine, oxycodone, and opiates; and SP6 tested positive for methamphetamine.

When questioned about the results of SP1 and SP2, Ms. Phillips admitted to the use of both

cocaine and methamphetamine. Ms. Phillips was also questioned about the results from SP4.

On that occasion, she admitted to snorting morphine that may have contained cocaine.

       Based on the positive results from SP4 and Ms. Phillips’s admission of snorting morphine

that may have contained cocaine, the report alleges that Ms. Phillips violated the condition of her

supervised release that states “The defendant shall refrain from excessive use of alcohol and shall

not purchase, possess, use, distribute, or administer any controlled substance or any

paraphernalia related to any controlled substance, except as prescribed by a physician.” USPO

does not seek to hold Ms. Phillips responsible for the sweat patches that tested positive for

methamphetamine because Pharmachem, Inc., the testing agency, informed USPO that the

positive tests could be the result of residual effects of the drugs in Ms. Phillips’s system from her

admitted use in November 2018. This conduct constitutes a Grade C violation. See U.S.S.G. §

7B1.1(a)(3). The Report next alleges that Ms. Phillips violated the condition of supervised

release that states: “The defendant shall not commit another federal, state or local crime.” The

Sixth Circuit has repeatedly held that drug use is equivalent to possession, and therefore Ms.

Phillips’s conduct would result in a violation of 21 U.S.C. § 844(a). This is a Grade B violation.



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See U.S.S.G. § 7B1.1(a)(2).

       Next, the Report alleges that on December 10, 2018, Ms. Phillips was arrested by the

Corbin Police Department pursuant to a warrant. According to that warrant, Ms. Phillips stole

$385.00 worth of merchandise from a Belk store in Corbin, Kentucky. Ms. Phillips later pled

guilty to Theft by Unlawful Taking in Knox County District Court. This offense is a Class A

misdemeanor under Kentucky law. In light of this conviction, the Report alleges that Ms.

Phillips violated the condition of her supervised release which states: “The defendant shall not

commit another federal, state or local crime.” This conduct constitutes a Grade C violation. See

U.S.S.G. § 7B1.1(a)(3).

       On February 1, 2019, Magistrate Judge Hanly A. Ingram conducted an initial appearance

pursuant to Rule 32. 1. [R. 1246.] Ms. Phillips knowlingly, voluntarily, and intelligently waived

her right to a preliminary hearing. Id. The United States made an oral motion for detention, and

Ms. Phillips did not argue for release. Judge Ingram determined that detention was required.

Ms. Phillips’s final hearing was held on March 4, 2019 wherein Ms. Phillips knowingly,

voluntarily, and intelligently stipulated to the violations set forth in the Report. [R. 1255.] At

the hearing, Judge Ingram heard testimony from defense expert Beverly Richards, a

psychotherapist, Probation Officer Greiwe, and Ms. Phillips. Subsequently, Judge Ingram

prepared a recommended disposition. [R. 1256.]

       As an initial matter, Judge Ingram noted that revocation is mandatory because Ms.

Phillips was in possession of a controlled substance. 18 U.S.C. § 3583(g)(1). Ms. Phillips’s

admitted conduct qualifies as a Grade C violation with respect to the theft and drug use

violations, and a Grade B violation with respect to the drug possession violation. With a




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criminal history category of III and a Grade B1 violation, Ms. Phillips’s range under the

Revocation Table is 8–14 months. See U.S.S.G. § 7B1.4(a).

         Noting that revocation was mandatory, Judge Ingram considered the relevant §§ 3553

and 3583 factors in order to determine an appropriate revocation term of imprisonment. Ms.

Phillips’s underlying offense is a conviction for conspiracy to manufacture a mixture or

substance containing methamphetamine. Judge Ingram expressed concern in his Recommended

Disposition regarding the nature of Ms. Phillips’s violations. Given her history of drug abuse

and underlying conviction, Judge Ingram was troubled by Ms. Phillip’s continued association

with individuals who deal or use drugs.

         Judge Ingram also considered Ms. Phillips’s personal history and characteristics,

specifically her history with abuse and resulting PTSD. Likewise, Judge Ingram found Ms.

Phillips’s history of mental health issues, which Ms. Richards testified to at the final hearing, to

be a mitigating circumstance. Finally, Judge Ingram weighed the need to deter criminal conduct

and protect the public alongside the Court’s need to provide Ms. Phillips with necessary

education, training or treatment, as well as the need to avoid unwarranted sentencing disparities.

Ultimately, Judge Ingram recommended a sentence of three months of imprisonment followed

by two years of supervised release, with the added condition that Ms. Phillips must spend the

first six months of of her supervision in an inpatient substance-abuse treatment facility.

         This is a below-guidelines sentence. Recognizing the requirement of a “specific reason”

for going outside the guidelines range, Judge Ingram cited Ms. Phillips significant history of

physical and emotional abuse and resulting mental health issues. Judge Ingram found, and this



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  See U.S.S.G. § 7B1.2(b) (“Where there is more than one violation of the conditions of supervision, or the violation
includes conduct that constitutes more than one offense, the grade of the violation is determined by the violation
having the most serious grade.”).

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Court agrees, that Ms. Phillips’s circumstances are significantly mitigating. A three-month

period of incarceration will adequately recognize the scope and seriousness of Ms. Phillips’s

offense while also crediting the mitigating circumstances present.

         Although the recommended sentence is below the guidelines range, Judge Ingram found

that a below-guideline sentence in this case was sufficient but not greater than necessary to

address Ms. Phillips’s breach of trust with the Court. Additionally, Judge Ingram found that a

two-year additional term of supervision was warranted. As discussed above, the first six months

of the additional term of supervised release will be served in an inpatient substance abuse

treatment facility. This added requirement will hopefully serve to protect the public.

       Pursuant to Rule 59(b) of the Federal Rules of Criminal Procedure, the Report and

Recommendation advises the parties that objections must be filed within fourteen (14) days of

service. Id. at 16; see 28 U.S.C. § 636(b)(1). Ms. Phillips timely objected to the Report and

Recommendation, and this Court scheduled an allocution hearing. [R. 1260; R. 1263.]

However, Ms. Phillips subsequently withdrew her objections and waived allocution. [R. 1264.]

The Court will grant Ms. Phillips request to withdraw her objection and proceed as if no

objections were made.

       Generally, this Court must make a de novo determination of those portions of the Report

and Recommendation to which objections are made. 28 U.S.C. § 636(b)(1)(c). But when no

objections are made, as in this case, the Court is not required to “review . . . a magistrate’s

factual or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474

U.S. 140, 151 (1985). Parties who fail to object to a magistrate judge’s report and

recommendation are also barred from appealing a district court’s order adopting that report and

recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, the



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Court has examined the record and agrees with Judge Ingram’s recommended disposition.

Accordingly, it is hereby ORDERED as follows:

       1.      Defendant Suzann Judy Phillips’s Motion to Withdraw Objections is

GRANTED;

       2.      Ms. Phillips’s Waiver of Allocution is ACCEPTED, and the allocution hearing

currently set for May 1, 2019 is CANCELLED;

       3.      The Report and Recommendation [R. 1256] as to Ms. Phillips is ADOPTED as

and for the Opinion of the Court;

       4.      Ms. Phillips is found GUILTY of all violations;

       5.      Ms. Phillips’s Supervised Release is REVOKED;

       6.      Ms. Phillips is hereby sentenced to a term of incarceration of three (3) months

with an additional two (2) year term of supervised release to follow, with the added condition

that Ms. Phillips is required to participate in six (6) months of inpatient substance-abuse

treatment immediately upon release from BOP custody; and

       7.      Judgment shall enter promptly.

       This the 24th day of April, 2019.




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